               Case 2:20-cr-00087-RSM Document 41 Filed 09/22/20 Page 1 of 2




 1                                                          CHIEF JUDGE RICARDO S. MARTINEZ
 2
 3
 4
                               UNITED STATES DISTRICT COURT
 5
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,                              )   No. CR20-087RSM
 8                                                          )
                     Plaintiff,                             )
 9                                                          )   ORDER GRANTING JOINT
                v.                                          )   UNOPPOSED MOTION TO
10                                                          )   CONTINUE TRIAL AND EXTEND
     DARIO FARIAS-VALDOVINOS                                )   PRETRIAL MOTIONS DEADLINE
11   RITO ORONIA-ARELLANO,                                  )
                                                            )
12                   Defendants.                            )
13          THE COURT has considered the unopposed motion of the parties to continue

14   the trial date and pretrial motions deadline and finds that:

15          (a) taking into account the exercise of due diligence, a failure to grant a

16   continuance in this case would deny counsel for the defendant the reasonable time

17   necessary for effective preparation due to counsel’s need for more time to review the

18   evidence, consider possible defenses, and gather evidence material to the defense, as set

19   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

20          (b) a failure to grant such a continuance in this proceeding would likely result in

21   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

22          (c) the additional time requested is a reasonable period of delay, as the defendant

23   has requested more time to prepare for trial, to investigate the matter, to gather evidence

24   material to the defense, and to consider possible defenses; and

25
26

       ORDER GRANTING JOINT UNOPPOSED                                   FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND EXTEND                                 1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE                                             Seattle, Washington 98101
       (USA v. Farias-Valdovinos et al., CR20-087RSM) - 1                               (206) 553-1100
               Case 2:20-cr-00087-RSM Document 41 Filed 09/22/20 Page 2 of 2




 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendant in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of September 28,
 5   2020 and the new trial date is necessary to provide counsel for the defendant the
 6   reasonable time necessary to prepare for trial, considering counsel’s schedule and all of
 7   the facts set forth above; and
 8          (f) the period of delay from the date of this order to the new trial date is
 9   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
10          IT IS THEREFORE ORDERED that the trial date in this matter shall be
11   continued to December 14, 2020, and that pretrial motions shall be filed no later than
12   November 13, 2020.
13          DONE this 22nd day of September, 2020.
14
15                                                    A
                                                      RICARDO S. MARTINEZ
16                                                    CHIEF UNITED STATES DISTRICT
                                                      JUDGE
17
18
19   Presented by:
20
     s/ Vanessa Pai-Thompson
21   Assistant Federal Public Defender
     Attorney for Dario Farias-Valdovinos
22
23   s/ Lennard Anthony Nahajski
     Attorney for Rito Oronia-Arellano
24   Per email authorization
25
26

       ORDER GRANTING JOINT UNOPPOSED                             FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND EXTEND                           1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE                                       Seattle, Washington 98101
       (USA v. Farias-Valdovinos et al., CR20-087RSM) - 2                         (206) 553-1100
